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FORM NO. 353-3 - CITATION                                                                                             !lTnT/%ii A ii


THE STATE OF TEXAS
To:     SAFECO INSURANCE COMPANY OF INDL4,NA
        BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
        211 E. 7TH STREET SUITE 620
        AUSTIN, TEXAS 78701-3218                                                                                 DC-15-01992-J '
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written                  GILBERT DE LA CRUZ 1
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
                                                                                                                        vs.
expiration of twenty days after you were served this citation and petition, a default judgment may be
                                                                                                           SAFECO INSURANCE COMPAN
taken against you. Your answer should be addressed to the
clerk of the 191st District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                               et al      -

Said Plaintiff being GILBERT DE LA CRUZ
                                                                                                                     ISSUED THIS
Filed in said Court 20th day of February, 2015 against                                                          9th day of March, 2015

SAFECO INSURANCE COMPANY OF INDIANA AND GL4,N FIGARO                                                               FELICIA PITRE
                                                                                                                 Clerk District Courts,
For Suit, said suit being numbered DC-15-01992-J, the nature of which demand is as follows:                      Dallas County, Texas
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition ,
a copy of which accompanies this citation. If this citation is not served, it shall be returned                                             OF
unexecuted.
                                                                                                             By: SPRINGE MCKINLEY, Deputy
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office this 9th day of March, 2015.                           Attorney for Plaintiff
                                                                                                                  RICHARD D. DALY
ATTEST: FELICIA PITP                             Qjstrict Courts of Dallas, County, Texas                     RICHARD DALY LAW FIRIVI
                                                                                                                  2211 NORFOLK ST
                                                                              Deputy                                  SUITE 800
                                                 ~UINLEY                                                       HOUSTON, TEXAS 77098
                                                                                                                     713-655-1405
                        ~`~`~'~~'''~; •-;' ~Q`~.~~,~~~




                                                                       EXHIBIT C-1
                                      Case 3:15-cv-01096-P Document 1-3 Filed 04/10/15                                      Page 2 of 29 PageID 14




                                                                                OFFICER' S RETURN
        Case No. : DC-15-01992

        Court No.191 st District Court

        Style: GILBERT DE LA CRUZ

        vs.

        SAFECO INSURANCE COMPANY, et al

    `   Came to hand on the                        day of                         20             at               o'clock           M. Executed at

        within the County of                                    at                o'clock             M. on the                     day of

        20                     , by delivering to the within named




        each, in person, a true copy of this Citation together with the accompanying copy of this pleading, WAS MAILED UNITED STATES CERTIFIED MAIL RETURN RECEIPT

        REQUESTED having first endorsed on same date of delivery. The distance actually traveled by me in serving such process was                     miles and my fees are as follows: To

4       certify which witness my hand.



                                         For serving Citation        $

                                         For mileage                 $                                of                       County,

                                         For Notary                  $                                 By
                                                                         (Must be verified if served outside the State of Texas.)

        Signed and sworn to by the said                                    before me this         day of

        to certify which witness my hand and seal of office.




                                                                                                      Notary Public                          .County
                   I
                               ~                                                                                       FILED
                                                                                                           DALLAS COUNTY
         Case 3:15-cv-01096-P' Document
2 CITS CERT MAIL                  +
                                        1-3 Filed 04/10/15                   Page 3 of 29 PageID 15     2/20/2015 2:38:53 PM
                                                                                                               FELICIA PITRE
                                                                                                             DISTRICT CLERK

                                                          DC-15-01992                                       Candace Tyler

                                            CAUSE NO.

         GILBERT DE LA CRUZ                           § IN THE DISTRICT COURT OF
                                                      §
                   Plaintiff                          §
                                                      §
         vs.                         § DALLAS COUNTY, TEXAS
                                     §
         SAFECO INSURANCE COMPANY OF §
         INDIANA AND GIAN.FIGARO.    § 191 st
                                     §        JUDICIAL DISTRICT
              Defendants             §

                                      PLAINTIFF'S ORIGINAL PETITION

         TO THE HONORABLE JUDGE OF SAID COURT:

                   Gilbert De La Cruz ("Mr. De La Cruz"), Plaintiff herein, files this Original Petition

         against Defendants Safeco Insurance Company of Indiana ("Safeco") and Gian Figaro ("Figaro")

         and, in support of his causes of action, would respectfully show the Court the following:

                                                           I.
                                                   THE PARTIES

                   1.     Gilbert De La Cruz is a Texas resident who resides in Dallas County, Texas.

                   2.      Safeco is an insurance company doing business in the State of Texas which may

         be served through its registered agent for service of process in the State of Texas, Corporation

         Service Company, via certified mail at 211 East 7th Street, Suite 620, Austin, TX 78701.

                   3.     Gian Figaro is a Texas resident who participated in adjusting Mr. De La Cruz's

         insurance claim, and he may be served via certified mail at 1610 Worthington Ln, Lancaster, TX

         75134.

                                                           II.
                                                   DISCOVERY

                   4.     This case is intended to be governed by Discovery Leve12.
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                                             III.                                                     1
                                      CLAIM FOR RELIEF


          5.   The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000 but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre judgment interest, and attorney's fees. However, to the

extent that Defendants refuse to cooperate in discovery, make frivolous and unwarranted

objections, file needless motions, quash depositions and discovery requests without a reasonable

basis, assert unjustified or false affirmative defenses, make unwarranted special exceptions, hire

individuals they claim to be "experts" who give false opinions or testimony, produce witnesses

who commit perjury, conduct excessive discovery, or otherwise needlessly delay litigation, the

costs, expenses, interest, and attorney's fees will likely be over $200,000 but not more than

$1,000,000.

                                           IV.
                                 JURISDICTION AND VENUE

          6.   This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

No diversity of citizenship exists in this matter.

          7.   Venue is proper in Dallas County under Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in Dallas County. In particular, the loss at issue occurred in Dallas County.

                                            V.
                                   FACTUAL BACKGROUND

          8.   Mr. De La Cruz is a named insured under a property insurance policy issued by

Safeco.



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           9.    On or about May 12, 2014 a storm hit the Grand Prairie, Texas area, damaging

Mr. De La Cruz's house and other property. Mr. De La Cruz subsequently filed a claim on his

insurance policy.

       10.
       1
                 Defendants improperly denied and/or underpaid the claim.

           11.   Figaro was assigned as an individual adjuster on the claim, conducted a

substandard investigation and inspection of the property, prepared a report that failed to include

all of the damages that he noted during the inspection, and undervalued the damages he observed

during the inspection.

       12.       Figaro's unreasonable investigation led to the underpayment of Plaintiffls claim.

       13.       Moreover, Safeco and Figaro performed an outcome-oriented investigation of

Plaintiff's claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff's losses

on the property.

                                             VI.
                                      CAUSES OF ACTION

       14.       Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract (Safeco Only)

       15.       Safeco had a contract of insurance with Plaintiff. Safeco breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.     Prompt Payment of Claims.Statute (Safeco Only)

       16.       The failure of Safeco to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of

the Texas Insurance Code.




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        17.    Plaintiff, therefore, in addition to Plaintiffls claim for damages, is entitled to 18%

interest and attorneys' fees as, set forth in Article 542.060 of the Texas Insurance Code.

C.      Bad Faith/DTPA (Safeco and Figaro)

        18.    Defendants are required to comply with Chapter 541 of the Texas Insurance

Code.

        19.    Defendants violated § 541.051 of the Texas Insurance Code by:

               (1)      making statements misrepresenting the terms and/or benefits of the policy.

        20.    Defendants violated § 541.060 by:

               (1)      misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

               (2)      failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of a claim with respect to which the insurer's liability had become reasonably clear;

               (3)      failing to promptly provide to Plaintiff a reasonable explanation of the

basis in the policy, in relation to the facts or applicable law, for the insurer's denial of a claim or

offer of a compromise settlement of a claim;

               (4)      failing within a reasonable time to affirm or deny coverage of a claim to

Plaintiff or submit a reservation of rights to Plaintiff; and

               (5)     refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

        21.    Defendants violated § 541.061 by:

               (1)     making an untrue statement of material fact;

               (2)     failing to state a material fact necessary to make other statements made not

misleading considering the circumstances under which the statements were made;



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               (3)     making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact;

               (4)     making a material misstatement of law; and

               (5)     failing to disclose a matter required by law to be disclosed.

       22. . At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendants.

       23.     Defendants have violated the Texas Deceptive Trade Practices Act in the

following respects:

               (1)     Defendants represented that the agreement confers or involves rights,

remedies, or obligations which it does not have, or involve, or which are prohibited by law;

               (2)     Safeco failed to disclose information concerning goods or services which

was known at the time of the transaction when such failure to disclose such information was

intended to induce the consumer into a transaction that the consumer would not have entered into

had the information been disclosed;

               (3)     Safeco, by accepting insurance premiums but refusing without a

reasonable basis to pay benefits due and owing, engaged in an unconscionable action or course

of action as prohibited by the DTPA § 17.50(a)(1)(3) in that Safeco took advantage of Plaintiff's

lack of knowledge, ability, experience, and capacity to a grossly unfair degree, that also resulted

in a gross disparity between the consideration paid in the transaction and the value received, in

violation of Chapter 541 of the Insurance Code.

       24.     Defendants knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code §

541.152(a)-(b).



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D.        Attorneys' Fees

          25.     Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendants and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.

          26.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX.

CIV. PRAC. & REM. CODE §§ 38.001-38.003 because he is represented by an attorney,

presented the claim to Defendants, and Defendants did not tender the just amount owed before

the expiration of the 30`h day after the claim was presented.

          27.     Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152

542.060 of the Texas Insurance Code.

                                             VII.
                                    CONDITIONS PRECEDENT

          28.     All conditions precedent to Plaintiffs right to recover have been fully performed,

or have been waived by Defendants.

                                             VIII.
                                      DISCOVERY REOUESTS

          29.     Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described iri Rule 194.2(a)-(1).

          30.     You are also requested to respond to the attached interrogatories, requests for

production and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.




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                                             IX.
                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Gilbert De La Cruz prays that, upon final

hearing of the case, he recover all damages from and against Defendants that may reasonably be

established by a preponderance of the evidence, and that Mr. De La Cruz be awarded attorneys'

fees through trial and appeal, costs of court, pre judgment interest, post judgment interest, and

such other and further relief, general or special, at law or in equity, to which Mr. De La Cruz

may show himself to be justly entitled.


                                            Respectfully submitted,

                                            DALY & BLACK, P.C.

                                            By:     /s/ Richard D. Daly
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdaly@dalyblack.com
                                                    John Scott Black
                                                    TBA No. 24012292
                                                    iblack@dalybiack.com
                                                    Ana M. Ene
                                                    TBA No. 24076368
                                                    aene@dalyblack.com
                                                    William X. King
                                                    TBA No. 24072496
                                                    wking@dalyblack.com
                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713.655.1405—Telephone
                                                    713.655.1587—Fax

                                            ATTORNEYS FOR PLAINTIFF
                                            GILBERT DE LA CRUZ




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               PLAINTIFF'S FIRST SET OF INTERROGATORIES,
         REOUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

        COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant(s) (1) answer the following Interrogatories separately and fully in writing under oath

within 50 days of service; (2) answer the Requests for Production separately and fully in writing

within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing

within 50 days of service; (4) serve your answers to these Interrogatories, Requests for

Production, and Requests for Admissions on Plaintiff by and through his/her attorneys of record,

Richard D. Daly, Daly & Black, P.C., 2211 Norfolk St, Suite 800, Houston, Texas 77098; and

(5) produce all documents responsive to the Requests for Production as they are kept in the usual

course of business or organized and labeled to correspond to the categories in the requests within

50 days of service at the Daly & Black, P.C. You are also advised that you are under a duty to

seasonably amend your responses if you obtain information on the basis of which:

        a.      You know the response made was incorrect or incomplete when made; or

        b.      You know the response, though correct and complete when made, is no longer

                true and complete, and the circumstances are such that a failure to amend the

                answer in substance is misleading.

                              DEFINITIONS AND INSTRUCTIONS

   A.        These Responses call for your personal and present knowledge, as well as the present
             knowledge of your attorneys, investigators and other agents, and for information
             available to you and to them.

   B.        If you cannot answer a particular Interrogatory in full after exercising due diligence to
             secure the information to do so, please state so and answer to the extent possible,
             specifying and explaining your inability to answer the remainder and stating whatever
             information or knowledge you have concerning the unanswered portion.

   C.        If you claim that any document which is required to be identified or produced by you
             in any response is privileged:


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                  1.   Identify the document's title and general subject matter;
                  2.   State its date;
                  3.   Identify all persons who participated in its preparation;
                  4.   Identify the persons for whom it was prepared or to whom it was sent;
                  5.   State the nature of the privilege claimed; and
                  6.   State in detail each ,and every fact upon which you base your claim for
                       privilege.

  D.    "Documents," includes any written, recorded or graphic matter, however produced or
        reproduced, of every kind regardless of where located including, but not limited to;
        medical records, tax returns, earnings statements, any summary, schedule,
        memorandum, note, statement, letter, telegraph, interoffice communication, report,
        diary, ledger, journal, log, desk or pocket calendar or notebook, day book,
        appointment book, pamphlet, periodical, worksheet, cost sheet, list, graph, chart, _
        telephone or oral conversation, study, analysis, transcript, minutes, accounting
        records, data sheet, tally or similar freight documents, computer printout, electronic
        mail, computer disk, and all other memorials of any conversations, meetings and
        conferences, by telephone or otherwise, and any other writing or recording which is
        in your possession, custody or control or in the possession, custody or control of any
        director, officer, employee, servant or agent of yours or your attorneys. The term
        "documents" shall also include the files in which said documents are maintained.
        Electronically stored information should be produced in PDF format.

  E.    "You," "Your," "Yours", "Defendants" and "Defendant" means all Defendants in this
        case.

  F.    In each instance where you are asked to identify or to state the identity of a person, or
        where the answer to an Interrogatory refers to a person, state with respect to each
        such person:
                  1. His or her name;
                  2. His or her last known business and residence address and telephone
                     number; and
                  3. His or her business affiliation or employment at the date of the
                     transaction, event or matter referred to.

  G.    If you decide that one question is not simply one question and plan to object based
        upon more than 25 interrogatories, you are instructed to skip that question and
        continue to answer what you consider to be only one question, by answering only the
        first 25 alleged single questions. By answering any one numbered question, you are
        hereby admitting that one number question is in fact one question and waive any
        objection based upon a limit of interrogatories.

  H.    "Plaintiffs" and "Plaintiff" includes all Plaintiffs, and refers to a single Plaintiff or
        multiple Plaintiffs, if applicable.

  I.   ,"Property" means the property at issue in the lawsuit.
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   J.      "Lawsuit" means this lawsuit.

                                            Respectfully submitted,

                                            DALY & BLACK, P.C.


                                            By:     /s/ Richard D. Daly
                                                    Richard D. Daly
                                                    TBA No. 00796429
                                                    rdalygdalyblack.com
                                                    John Scott Black
                                                    TBA No. 24012292
                                                    j b 1 ackg dal yb 1 ack. com
                                                    Ana M. Ene
                                                    TBA No. 24076368
                                                    aene(~ a,dalyblack.com
                                                    William X. King
                                                    TBA No. 24072496
                                                    wkin (2dalyblack.com
                                                    2211 Norfolk St., Suite 800
                                                    Houston, Texas 77098
                                                    713 .65 5 .1405—Telephone
                                                    713.655.1587—Fax

                                            ATTORNEYS FOR PLAINTIFF
                                            GILBERT DE LA CRUZ




                                CERTIFICATE OF SERVICE

       I hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
when it was served with the citation.

                                                    /s/ Richard D. Dal
                                                    Richard D. Daly




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                  INTERROGATORIES TO DEFENDANT SAFECO

     Identify the name, address, and role in the claim made the basis of this Lawsuit, if any,
     for all persons providing information for the answers these interrogatories.

     ANSWER:

2.   Identify all persons and/or entities who handled the claim made the basis of the Lawsuit
     on behalf of Defendant.

     ANSWER: .

3.   Does Defendant contend that Plaintiff(s) failed to provide proper . notice of the claim
     made the basis of this Lawsuit under either the policy or the Texas Insurance Code, and,
     if so, describe how the notice was deficient, and identify any resulting prejudice caused to
     Defendant.

     ANS WER:

4.   Does Defendant claim that Plaintiff(s) failed to mitigate his or her damages? If so,
     describe how Plaintiff failed to do so, identifying any resulting prejudice caused to
     Defendant.

     ANSWER:

5.   Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
     documents and/or 'information? If so, identify all requests to which Plaintiff(s) did not
     respond and state whether you denied any portion of the claim based on Plaintiffls(s')
     failure to respond.

     ANSWER:

6.   At the time the claim made the basis of this Lawsuit was investigated and the Property
     inspected (and prior to anticipation of litigation), describe all damage attributable to the
     storm observed at the Property by Defendant or any persons or entities on behalf of
     Defendant.

     ANS WER:


7.   Identify all exclusions under the Policy applied to the claim made the basis of this
     Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon
     to apply that exclusion.

     ANSWER:



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      Describe how Defendant determined whether overhead and profit ("O&P") should be
      applied to the claim niade the basis of this Lawsuit, identifying the criteria for that
      determination.

      ANSWER:

      Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
      depreciation, stating for each item the criteria used and the age of the item.

      ANSWER:

10.   To the extent Defendant utilized an estimating software program and modified the
      manufacturer's settings with respect to Plaintiffs' claim, identify those modifications.

      ANSWER:

11.   State whether Defendant applied depreciation to the tear off of the damaged roof and/or
      other debris removal iri the claim made the basis of this Lawsuit, identifying the basis for
      that depreciation and the applicable policy section under which the tear off was paid
      under.

      ANSWER:

12.   Identify all price lists used to prepare all estimates on the claim made the basis of this
      Lawsuit, stating the manufacturer, version, date and geographical area.

      ANS WER:

13.   To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
      the basis of lawsuit wrongly included or excluded any item or payment. If so, identify
      each item or payment and state whether it should have been included or excluded from
      the estimates prepared on the claim made the basis this Lawsuit.

      EX►[.IUT a:~
14.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      541 that were discovered on this claim during the claims handling process.

      ANSWER:

15.   To the extent Defendant is aware, state any violations of Texas Insurance Code Section
      542 that were discovered on this claim during the claims handling process.

      ANQsWRR-




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16.   To the extent Defendant is aware, state any violations of the requirements or obligations
      owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
      were discovered during the claims handling process.

      ANS WER:

17.   State the date Defendant first anticipated litigation.

      ANSWF.R -

18.   State every basis, in fact and in the terms of Plaintiffls policy, for Defendant's(s') denial
      or partial denial and/or recommendation of denial or partial denial of Plaintiff's claim(s).

      ANS WER:

19.   Identify every other insurance claim (by name, address and telephone no. of the insured)
      made for property damage in the same city/town as the house at issue in this case, and
      stemming from the same storm, which claim was paid in part or whole. This is limited to
      within 5 miles of Plaintiffls(s') insured property.

      ANSWER:

20.   Identify anyone who recommended payment on Plaintiff's claim(s), and if so, state what
      amount(s).

      ANS WER:

21.   Give the name, address and telephone number of all persons making a claim with you for
      property damage for the same date of loss as Plaintiffls claim. This request is limited to
      persons who live within a 5 mile radius of Plaintiff's insured residence.

      ANS WER:

22.   List all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      ANSWER:




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            REOUESTS FOR PRODUCTION TO DEFENDANT SAFECO

     The following insurance documents issued for the Property as identified in the Petition:
        a. the policy at issue for the date of loss as identified in the Petition; and
        b. the policy declarations page for the 3 years preceding the storm.

     RESPONSE:

     Produce underwriting files and documents relating to the underwriting for all insurance
     policies for the Property at issue. This request is limited to the past 5 years. To the extent
     Defendant contends that the underwriting file or documents older than 5 years impact,the
     damages or coverage, produce that underwriting file or document.

     RESPONSE:

     All documents relating to the condition or damages of the Property or any insurance
     claim on the Property.

     RESPONSE:

4.   All documents relating to any real property insurance claims made by the Plaintiff(s).
     This request is limited to the past 5 years. To the extent Defendant contends that
     documents older than 5 years impact the damages or coverage, produce that document.

     RESPONSE:

     All requests for information to any third party about the Property, the Plaintiff(s), or the
     claims made the basis of this Lawsuit.

     RESPONSE:

6.   All documents used to instruct, advise, guide, inform, educate, or assist provided to any
     person handling the claim made the basis of this Lawsuit that related to the adjustment of
     this type of claim, i.e., hail property damage.

     RESPONSE:

7.   All documents obtained from any person(s) or entity(ies) and governmental agencies on
     behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the Policy,
     or the claims made the basis of this Lawsuit. This request includes all documents
     obtained by way of deposition on written questions.

     RF.SPONSF.-




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      All documents received (prior to litigation) directly or indirectly from Plaintiff(s) or
      created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
      is limited to the past 5 years. To the extent Defendant contends that any document older
      than 5 years impact the damages or coverage, produce that document.

      RESPONSE:

9.    Produce a copy of all price lists used to prepare any estimates for the claim made the
      basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third
      party, you can reference the vendor and version of the pricelist with a stipulation that it is
      unmodified.

      RESPONSE:

10.   To the extent Defendant created or altered any prices used in the preparation of an
      estimate in the claim made the basis of this Lawsuit, produce all documents related to the
      creation or alteration of the price, including the original price for that item and the factual
      bases for the creation or alteration.

      RESPONSE:

11.   A complete copy the personnel file related to performance (excluding medical and
      retirement information) for all people and their managers and/or supervisors who directly
      handled the claim made the basis of this Lawsuit, including all documents relating to
      applications for employment, former and current resumes, last known address, job title,
      job descriptions, reviews, evaluations, and all drafts or versions of requested documents.
      This request is limited to the past 5 years.

      RESPONSE:

12.   All organizational charts, diagrams, lists, an/or documents reflecting each department,
      division or section of Defendant's company to which the claim made the basis of this .
      Lawsuit was assigned.

      RESPONSE:

13.   All Texas insurance licenses and/or certifications in effect at the time of the claims
      arising out of the storms at issue for all persons who worked on the claim made the basis
      of this Lawsuit, including any document relating to the application, issuance or review of
      those licenses and/or certifications. This request excludes those who performed merely
      ministerial acts, i.e. people who answer phones, file clerks whose only job duty is to
      stamp "received," etc.

      RESPONSE:




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14.   If an engineer and/or engineering firm evaluated the Property, produce all reports written
      at the request of Defendant by that engineer or engineering firm within the last 5 years.
      This request is limited to the extent that the engineer and/or engineering firm was used
      during claims handling.

      RESPONSE:

15.   Produce all documents showing amounts billed and paid to any engineer and/or
      engineering firm identified in response to Request for Production above within the last
      three years. A summary is acceptable in lieu of actual invoices or payments.

      RESPONSE:

16.   All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
      made the basis of this Lawsuit, including any changes to the reserve(s) along with any
      supporting documentation.

      RESPONSE:

17.   All documents relating to issues of honesty, criminal actions, past criminal record,
      criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
      disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
      made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
      the basis of this Lawsuit.

      RESPONSE:

18.   All documents relating to work performance, claims patterns, claims problems,
      commendations, claims trends, claims recognitions, and/or concerns for any person who
      handled the claim made the basis of this Lawsuit.

      RESPONSE:

19.   All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
      on this Policy and/or referencing any person who handled the claim made the basis of this
      Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
      claimed by Plaintiff(s).

      RESPONSE:

20.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:




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21.   All Simsol Management reports that include this claim in any way, this Policy, the
      amount paid on this Policy and/or referencing any person who handled the claim made
      the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
      county of suit on or about the date of loss claimed by Plaintiff(s).

      RESPONSE:

22.   Any email or document that transmits, discusses, or analyzes any report produced in
      response to the Request for Production immediately above.

      RESPONSE:

23.   For any consulting expert whose mental impressions or opinions have been reviewed by a
      testifying expert: all documents or tangible things that have been provided to, reviewed
      by, or prepared for the testifying expert.

      RESPONSE:

24.   Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
      of a crime which you intend to use as evidence to impeach any party or witness.

      RESPONSE:

25.   All indemnity agreements in effect at the time of Plaintiffs' claim between Defendant and
      any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

26.   All contracts in effect at the time of Plaintiffs' claim between Defendant and any
      person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

      RESPONSE:

27.   All confidentiality agreements and/or instructions regarding confidentiality in effect at
      the time of Plaintiffs' claim between Defendant and any person(s) and/or entity(ies) who
      the claim made the basis of the Lawsuit.

      RESPONSE:

28.   All documents between Defendant and any person(s) and/or entity(ies) who handled the
      claim made the basis of the Lawsuit regarding document retention policy in effect at the
      time of Plaintiffs' claim.

      RESPONSE:




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29.   To the extent the claim involves rescinding of the policy, all documents regarding
      Defendant's standards for investigating and rescinding and/or voiding a policy.

      RESPONSE:

30.   A List of all of your approved or preferred engineers, third party adjusters/adjusting
      companies, roofers and contractors, for windstorm claims in Texas from one year prior to
      the date of loss at issue to date.

      RESPONSE:




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                         INTERROGATORIES TO DEFENDANT FIGARO


       Identify all email accounts, email addresses, and/or any alias or code used to identify you and
       used for any communication relating to your work handling storm claims arising out of the
       storm(s) at issue in this Lawsuit. This request is limited only to the carrier of the claim that is
       the subject of this Lawsuit.

       RESPONSE:


       Identify generally the training or experience you had in adjusting hail and/or windstorm
       damage and any specific training you had for this storm prior to your handling of claim made
       the basis of this Lawsuit.

       RESPONSE:


       Identify any degrees, Texas insurance licenses (unless you qualified for adjusting claims in
       Texas on an emergency basis, then list any insurance licenses you held from other states) or
       certifications you had at the time you handled the claim made the basis of this Lawsuit.

       RESPONSE:


4.     Explain how you were compensated and by whom for your work on claims arising out of the
       storm(s) at issue in this Lawsuit., stating the amount you were compensated per claim, per
       day, and/or per week and identifying any bonus or incentive plans. To the extent the
       produced personnel file includes a compensation schedule, you may refer to such personnel
       file.

       RESPONSE:


5.     State whether you are fluent in Spanish and whether you had any communication relating to
       the claim made the basis of this Lawsuit in Spanish. If you are not fluent in. Spanish, state
       whether you are proficient in Spanish to communicate to adjust a claim.

       RESPONSE:




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6.      Identify the following dates:

           a. The date you first obtained an adjuster license in the State of Texas;
           b. The first date you were hired/retained by the insurance company defendant or any
              other defendant in this Lawsuit to adjust property damage claims;
           c. The date you were first assigned to claims arising out of the storm(s) at issue in this
              Lawsuit.;
           d. The date you closed your file on the claim made the basis of this Lawsuit; and
           e. The last date you worked on any claims arising out of the storm(s) at issue in this
              Lawsuit.

        RESPONSE:


        Describe in detail each inspection you conducted of the Property made the basis of this
        Lawsuit, identifying:
           a. The name and job title of any person who inspected the Property with you;
           b. The date of each inspection;
           c. The purpose of each inspection;
           d. The length of time of each inspection;
           e. The equipment or tools used during each inspection;
           f. The areas of the Property inspected (i.e. roof, attic, individual rooms, exterior); and
           g. Any documents generated during or as a result of each inspection, including the
              persons and/or entities in possession of those documents.

        RESPONSE:


8.      Following the inspection(s), did You engage in any additional communications (e.g.,
        telephone, in person, written communication) with Plaintiff(s)? If yes, provide the following
        information:


           a. the date of such communication(s);
           b. the manner of such communication(s);
           c. the person to whom You communicated;
           d. the reason for the communication(s);
           e. for any telephonic communication(s), identify who initiated the phone call, and the
              telephone number from which you called or on which you received the call; and
           f. the general substance of the communication.

       RESPONSE:




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9.       Identify and describe all damage you observed during your inspection(s) of the claim made
         the basis of this Lawsuit. To the extent the damage you observed during your inspection is
         reflected in scope notes and photographs, you can refer Plaintiffs to such scope notes and/or
         photographs.

         RESPONSE:


10.      For all damage observed at the Property or reflected in your scope notes and/or photographs,
         state what your believe to be the cause of the damage, describing the investigatory steps you
         took to determine the cause, and identify all person(s) and/or entity(ies) that provided
         information or participated in that determination.

         RESPONSE:


11.      To the extent you applied or recommended policy exclusions, identify all exclusions under
         the Policy applied to the claim made the basis of this Lawsuit, and for each exclusion applied
         or recommended, state the factual reason(s) that the exclusion was applied or recommended.

         RESPONSE:


12.      Identify the information you used to determine and how you calculated the amount of
         depreciation that you applied to any damage categories included in any estimates you
         prepared and/or approved on the claim made the basis of this Lawsuit.

         RESPONSE:


13.      How did you determine whether you would or would not apply overhead and profit (O&P) to
         Plaintiffs' claim?

        RESPONSE:


14.     Identify all documents that you relied upon in the adjustment of the claim made the basis of
        this Lawsuit. For each document, identify who provided the document.

        RESPONSE:


15.     Identify all documents or information you requested from Plaintiff during the investigation of
        the claim made the basis of this Lawsuit, the date the request was made, the person who
        communicated the request, and the Plaintiff(s) who received the request.



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      RESPONSE:


16.   Identify all documents or items in your possession related to the claim made the basis of this
      Lawsuit that you did not submit to the insurance company and/or adjusting company
      assigned to this claim.

      RESPONSE:


17.   To the extent you are aware, identify all documents or items that were altered, revised,
      changed or removed from the documents or information you provided the insurance company
      or adjusting company relating to the claim made the basis of this Lawsuit.

      RESPONSE:


18.   Identify and describe any training, guidance or instruction provided to you by any person
      and/or entity regarding the handling of claims arising out of the storm(s) at issue in this
      Lawsuit.

      RESPONSE:




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             REOUESTS FOR PRODUCTION TO DEFENDANT FIGARO


1.    All documents related to Plaintiff(s), the Property, the Policy, and/or the claim made the
      basis of this Lawsuit.

      RESPONSE:


2.    All licenses or certifications that are identified in response to Interrogatory Number 3.

      RESPONSE:


3.    All training documents you have for adjusting hail and/or windstorm claims. This request
      is limited to the past 2 years.

      RESPONSE:


4.    All applications you submitted (or submitted on your behalf) for purposes of obtaining a
      license to adjust claims in the State of Texas that were in effect at the time of the
      storm(s) at issue in this Lawsuit..

      RESPONSE:


5.    All resumes for the last five (5) years.

      RESPONSE:


6.    All applications for employment you submitted for purposes of obtaining employment as
      an adjuster and/or claims handler in the State of Texas. This request is limited to the five
      (5) years preceding the storm(s) at issue in this Lawsuit.

      RESPONSE:


7.   All documents you relied upon in the adjustment of the claim made the basis of this
     Lawsuit.

     RESPONSE:




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8.    To the extent you made a determination or recommendation regarding depreciation, all
      documents relating to the application of depreciation on a homeowners property claim in
      the State of Texas for the past two (2) years.

      RESPONSE:


9.    To the extent you made a determination or recommendation regarding overhead and
      profit, all documents relating to the application of overhead and profit on a homeowners
      property claim in the State of Texas for the past two (2). years.

      RESPONSE:


10.   All documents or items in your possession related to the claim made the basis of this
      Lawsuit that you did not submit to the insurance company and/or adjusting company
      assigned to this claim.

      RESPONSE:



11.   All documents meant to instruct, advise, or guide the handling or adjusting hail and/or
      windstorm claims in the State of Texas for the last 2 years.

      R.ESPONSE:


12.   All training manuals in effect at the time of Plaintiffs' claim used for so$ware programs
      utilized in the claim made the basis of this lawsuit.

      RESPONSE:


13.   All documents relating to any performance reviews or evaluations by the carrier of the
      underlying claim, whether formal or informal, regarding your handling of claims arising J
      out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


14.   All documents relating to any Texas Department of Insurance complaints made against
      you by an insured related to claims arising out of the storm(s) at issue in this Lawsuit.

      R F.SPONSF.-



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15.   All contracts, indemnity agreements, and/or confidentiality agreements between you and
      the adjusting company and/or insurance company in effect during the handling of claims
      arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


16.   All price lists used by you in handling claims arising out of the claims arising out of the
      storm(s) at issue in this Lawsuit. To the extent the pricelist is an unmodified pricelist
      from a third party, you can reference the vendor and version of the pricelist with a
      stipulation that it is unmodified.

      RESPONSE:


17.   All weather reports regarding wind and/or hail relied upon by you in handling claims
      arising out of the claims arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:


18.   All correspondence to or from the adjusting company and/or the insurance company that
      issued the policy regarding modifying/modifications to the unit price cost and the price
      list you used in handling claims arising out of the storm(s) at issue in this Lawsuit.

      RESPONSE:




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                     FIRST SET OF REQUESTS FOR ADMISSIONS TO
                                SAFECO AND FIGARO


    REOUEST FOR ADMISSION NO. 1. Admit you committed statutory bad faith in adjusting
    Plaintiff's claim.

    RESPONSE:

    REOUEST FOR ADMISSION NO. 2. Admit you committed common law bad faith in
    adjusting Plaintiff's claim.

    RESPONSE:

    REOUEST FOR ADMISSION NO. 3. Admit you breached the insurance agreement by failing
    to pay the full amount owed there under.

    RESPONSE:

    REOUEST FOR ADMISSION NO. 4. Adnoit you breached the insurance agreement by failing
    to pay the full amount owed there under on a timely basis.

    RESPONSE:

    REOUEST FOR ADMISSION NO. 5. Admit you breached the Texas Prompt Payment Act by
    failing to pay the full amount owed under the policy in a timely fashion.

    RESPONSE:




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                                            FELICIA      PIT-
                                            DISTRICT CLERK
                                             600 COMMERCE STREET
                                             DALLAS,Ti~MS 762024606




                                                                                            DELIVERED, Date
                                                                                            Addressee,
FELICIA PITRE
DISTRICT CLERK                                                  I                           Address
GEORGE L ALLEN, SR. COURTS BLDG.
600 COMMERCE ST STE 103
DALLAS, TX 75202-4689
                                                                                           Deliver to
                                                                                           Addressee
                                   NI~III~DIIIII~ININIINNIIIN       u~                     My
Return Receipt (Elcictronic)
                                   9214 8901 0661 5400 0051 7082 89




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SAFECO INSURANCE COMPANY OF INDIANA
BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
211 E 7TH ST ST.E 62.0
AUSTIN, TX 78701-3218
